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        EXHIBIT
           A
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January 4, 2019


The Honorable Sarah Netburn, U.S. Magistrate Judge
United States District Court for the S.D.N.Y
Thurgood Marshall U.S. Courthouse, Room 430
40 Foley Square
New York, NY 10007

         Re:      In Re: Terrorist Attacks on September 11, 2001, 03MDL 1570 (GBD) (SN)

Dear Judge Netburn:

       Pursuant to your order, the parties met and conferred regarding Havlish/Hoglan Motion
for Common Benefit.

   I.          Havlish/Hoglan Background

The Motion for Common Benefit arises from the work Havlish/Hoglan has done without the aid
of other Iran judgement holders. The Respondents simply relied on evidence provided by
Havlish/Hoglan already in the Courts record. All judgements against Iran are a direct result of
10 years of work by the Havlish/Hoglan Group. Under these circumstances, a common benefit
fund (shared between the Havlish/Hoglan lawyers and their clients) should be required.

The Motion has some urgency as hundreds of millions of dollars have today gone to the Iran
Judgement Creditors who relied entirely on the evidence created by the Havlish/Hoglan
plaintiffs. This issue is now ripe (see Judge Mass’ order re ripeness). Our Motion was timely as
letters to Respondents from the VSST accepting their VSST claims were received December 13,
2018.

   II.         Havlish/Hoglan Position

Although no actual agreement has been made the Havlish/Hoglan movants have adjusted their
position as a result of the meet and confer process. Havlish/Hoglan’s current position with
respect to the Motion is as follows:

         1. We agree to extend the time for response to any date acceptable to Respondents so
            long as they retain the requested percentage common benefit in their trust accounts
            until the matter is resolved.
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 2. We agree that any deal relating to the payments made from the 2019 VSST Fund will
    apply only to those payments and not subject either party to any waiver regarding
    future Iran collections.
 3. We agree that, with regard to any resolution of the Saudi cases, the same principle
    should apply. Those firms taking the laboring oar in the Saudi cases should receive
    common benefit funds.

                                    Respectfully submitted,

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